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IN THE UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF THE DISTRICT OF COLUMBIA

 

UNITED STATES,
V.

JACK WADE WHITTON,
Defendant.

 

Crim. No. 21cr35
Hon. Emmet G. Sullivan

MOTION TO SUBSTITUTE COUNSEL

Comes now Defendant Jack Wade Whiton, by counsel, and moves this Court to substitute

his current counsel, Benjamin B. Alper, Esq. and Robert D. Owen, Esq., with John C. Kiyonaga,

undersigned.

SEEN AND AGREED:

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Benjamin B. Alper, Esq.

MV oress

Robert D. Owen, Esq. GSES \OY \

 

Respectfully Submitted,

JACK WADE WHITTON
By Counsel

/s/
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Counsel for the Defendant
